STATISTICAL INFORMATION ONLY: Debtor must select the number of each of the following items included in the Plan.

© Valuation of Security 6 — Assumption of Executory Contract or Unexpired Lease © Lien Avoidance

Last revised: August 1, 2020
UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEW JERSEY
In Re: Case No.: 21-17095
Judge: MBK
Debtor(s)
Chapter 13 Plan and Motions
[1 Original C1 Modified/Notice Required Date: _92/09/2022
[1 Motions Included Modified/No Notice Required

THE DEBTOR HAS FILED FOR RELIEF UNDER
CHAPTER 13 OF THE BANKRUPTCY CODE

YOUR RIGHTS MAY BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Nofice. Your rights may be affected by this
plan. Your claim may be reduced, modified, or eliminated. This Plan may be confirmed and become binding, and included motions may
be granted without further notice or hearing, unless written objection is filed before the deadline stated in the Notice. The Court may
confirm this plan, if there are no timely filed objections, without further notice. See Bankruptcy Rule 3015. If this plan includes motions
to avoid or modify a lien, the lien avoidance or modification may take place solely within the chapter 13 confirmation process. The plan
confirmation order alone will avoid or modify the lien. The debtor need not file a separate motion or adversary proceeding to avoid or
modify a lien based on value of the collateral or to reduce the interest rate. An affected lien creditor who wishes to contest said
treatment must file a timely objection and appear at the confirmation hearing to prosecute same.

The following matters may be of particular importance. Debtors must check one box on each line to state whether the plan
includes each of the following items. If an item is checked as “Does Not” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

THIS PLAN:

L] DOES XI DOES NOT CONTAIN NON-STANDARD PROVISIONS. NON-STANDARD PROVISIONS MUST ALSO BE SET FORTH
IN PART 10.

C] Does & DOES NOT LIMIT THE AMOUNT OF A SECURED CLAIM BASED SOLELY ON VALUE OF COLLATERAL, WHICH

MAY RESULT IN A PARTIAL PAYMENT OR NO PAYMENT AT ALL TO THE SECURED CREDITOR. SEE MOTIONS SET FORTH IN
PART 7, IF ANY.

[] DOES Xl DOES NOT AVOID A JUDICIAL LIEN OR NONPOSSESSORY, NONPURCHASE-MONEY SECURITY INTEREST.
SEE MOTIONS SET F PART 7, IF ANY.

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Initial Debtor(s)’ Atto Initial Debtor: SJ GS Initial Co-Debtor:

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a. The debtor shall pay $2,352 PTD /$763per__ Month to the Chapter 13 Trustee, starting on
February 1, 2022 for approximately 56 months.

b. The debtor shail make plan payments to the Trustee from the following sources:
] Future earnings

C] Other sources of funding (describe source, amount and date when funds are available):

c. Use of real property to satisfy plan obligations:

L] Sale of real property
Description:

Proposed date for completion:

(Refinance of real property:

Description:
Proposed date for completion:

(1 Loan modification with respect to mortgage encumbering property:

Description:
Proposed date for completion:

d. (1 The regular monthly morigage payment will continue pending the sale, refinance or loan modification.

e. 3 Other information that may be important relating to the payment and length of plan:

The debtor paid $2,352.00 to date and starting on February 1, 2022 will pay Trustee $763.00 per month
for approximately 56 months.
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a. Adequate protection payments will be made in the amount of $ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to (creditor).

b. Adequate protection paymenis will be made in the amount of $ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: (creditor).

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a. All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor Type of Priority Amount to be Paid
CHAPTER 13 STANDING TRUSTEE ADMINISTRATIVE AS ALLOWED BY STATUTE
ATTORNEY FEE BALANCE ADMINISTRATIVE BALANCE DUE: $ 2,000.00

DOMESTIC SUPPORT OBLIGATION
INTERNAL REVENUE SERVICE TAXES $3,371.36

b. Domestic Support Obligations assigned or owed to a governmenial unit and paid less than full amount:
Check one:

None

C] The allowed priority claims listed below are based on a domestic support obligation that has been assigned

to or is owed to a governmental unit and will be paid less than the full amount of the claim pursuant to 14
U.S.C.1322(a\(4):

Creditor Type of Priority Claim Amount | Amount to be Paid

Domestic Support Obligations assigned
or owed fo a governmental unit and
paid fess than full amount.

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a. Curing Default and Maintaining Payments on Principal Residence: [] NONE

The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and
the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as

follows:
Creditor Coliateral or Type Arrearage Interest Rate on Amount to be Paid | Regular Monthly
of Debt Arrearage to Creditor (In Payment (Outside
Plan) Plan)
Wells Fargo 43 Marshall Lane $5,113.33 0.00 $5,113,33 $1,591.00

Willingboro, NJ 08046

b. Curing and Maintaining Payments on Non-Principal Residence & other loans or rent arrears: NONE

The Debtor will pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations and the
debtor will pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as follows:

Creditor

of Debt

Collateral or Type

Arrearage

Interest Rate on
Arrearage

to Creditor (In
Plan)

Amount to be Paid

Regular
Monthly
Payment
(Outside
Plan}

c. Secured claims excluded from 11 U.S.C. 506: Xl NONE

The following claims were either incurred within 910 days before the petition date and are secured by a purchase
money security interest in a motor vehicle acquired for the personal use of the debtor(s), or incurred within one year of
the petition date and secured by a purchase money security interest in any other thing of value:

Name of Creditor

Collateral

interest Rate

Amount of
Claim

Total to be Paid through the Plan
Including Interest Calculation

d. Requests for valuation of security, Cram-down, Strip Off & Interest Rate Adjustments [Xl NONE

1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
Stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE?” it shall be treated as an unsecured claim.

NOTE: A modification under this Section ALSO REQUIRES
the appropriate motion to be filed under Section 7 of the Plan.

Creditor Collateral

Scheduled
Debt

Total Superior Liens Value of

Collateral : Creditor

Value Interest in
Collateral

Annual
Interest
Rate

Total
Amount to
be Paid

2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.

e. Surrender [Xi] NONE

Upon confirmation, the stay is terminated as to surrendered collateral only under 11 U.S.C. 362(a) and that the
stay under 11 U.S.C 1301 be terminated in all respects. The Debtor surrenders the following collateral:

Creditor

Collateral to be Surrendered

Value of Surrendered
Collateral

Remaining
Unsecured Debt

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(NOTE: See time limitations set forth in 11 U.S.C. 365(d)(4) that may prevent assumption of non-residential reai
property leases in this Plan.)

All executory contracts and unexpired leases, not previously rejected by operation of law, are rejected, except
the following, which are assumed:

payments of $200.00 per
Month

Debtor will assume lease.

Creditor Arrears to be Cured in Nature of Contract or Treatment by Debtor Post-Petition Payment
Plan Lease
Tesla Solar Panels 0.00 Lease agreement with No pre-petition arears; $200.00

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NOTE: All plans containing motions must be served on all affected lienholders, together with local form,
Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1. A
Certification of Service, Notice of Chapter 13 Plan Transmittal, and valuation must be filed with the Clerk of
Court when the plan and transmittal notice are served.

a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f). NONE

The Debtor moves to avoid the following liens that impair exemptions:

Creditor

Nature of Type of Lien Amount of Value of Amount of
Collateral Lien Collateral Claimed
Exemption

Sum of All Amount of
Other Liens Lien to be
Against the Avoided

Property

b. Motion to Avoid Liens and Reclassify Claim from Secured to Completely Unsecured. NONE

The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with

Part 4 above:
Creditor Collateral Scheduled | Total Superior Liens Value of Creditors | Total Amount of
Debi Collateral Interest in Lien to be
Value Collateral Reclassified

c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured. X] NONE

The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:

Creditor

Collateral

Scheduled
| Debt

Total
Collateral
Value

Amount to be

Deemed Secured

Amount to be
Reclassified as Unsecured

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a. Vesting of Property of the Estate

C] Upon confirmation

Upon discharge

b. Payment Notices

Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the

Debtor notwithstanding the automatic stay.

f. Secured Claims Unaffected by the Plan [] NONE

The following secured claims are unaffected by the Plan:

-HUD lien on 43 Marshail Lane, Willingboro, New Jersey 08046. (No arears and no payments due during the life of the plan.)

-Wells Fargo secured by 2015 Chrysler 200

g. Secured Claims to be Paid in Full Through the Plan: NONE

Creditor Collateral Total Amount to be
Paid Through the Plan

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a. Not separately classified allowed non-priority unsecured claims shall be paid:

[1 Not less than $ to be distributed pro rata
Not less than _190 percent

(1 Pro Rata distribution from any remaining funds

b. Separately classified unsecured claims shall be treated as follows:

Creditor Basis for Separate Classification Treatment Amount to be Paid

c. Order of Distribution

The Standing Trustee shall pay allowed claims in the following order:
1) Ch. 13 Standing Trustee commissions
2) Other administrative Claims

3) Secured Claims

4) Priority Claims 5.) General Unsecured Claims

d. Post-Petition Claims

The Standing Trustee ] is, C1] is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section
1305(a) in the amount filed by the post-petition claimant.

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NOTE: Modification of a plan does not require that a separate motion be filed. A modified plan must be
served in accordance with D.N.J. LBR 3015-2,

If this Plan modifies a Plan previously filed in this case, complete the information below.

Date of Plan being modified: 09/08/21 coun

Explain below why the plan is being modified: Explain below how the plan is being modified:
The plan payment needed to be modified to from $588.00 x 60 months |The plan payments were modified to show $2,352.00 PTD, $763 x 56
which would not put the creditors in as good a position if a 7 were months. Wells Fargo arears was increased to $5,113.33. The IRS claim
declared, The plan did not have the correct arears for Wells Fargo. The | was increased to $3,371.36. The HUD claim was listed under Part 4f.
did not have the correct outstanding balance for the IRS taxes for an Part 5 of the plan proposes 100% to general unsecured creditors.

unsecured priority claim. The plan did not include the HUD claim which
should be placed under Part 4f. Finally part 5 of the plan needs to
propose 100% to unsecured creditors per equity in the real estate.

Are Schedules | and J being filed simultaneously with this Modified Plan? [] Yes No
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Non-Standard Provisions Requiring Separate Signatures:

NONE

L] Explain here:

Any non-standard provisions placed elsewhere in this plan are ineffective.

The Debtor(s) and the attorney for the Debtor(s), if any, must sign this Plan.

By signing and filing this document, the debtor(s), if not represented by an attorney, or the attorney for the debtor(s)
certify that the wording and order of the provisions in this Chapter 13 Plan are identical to Local Form, Chapter 13
Plan and Motions, other than any non-standard provisions included in Part 10.

| certify under penalty of perjury that the above is true.

Date: 2/9/2022 \wy f (} 0 VL-
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Joint Debto

Date:

Date: 2/9/2022

Attorney/or Debtor(s)
